        Case 1:21-cv-02127-SCJ-AJB Document 1 Filed 05/20/21 Page 1 of 9




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 COLLIN LYONS,
                                                  Civil Action No.
      Plaintiff,

 v.
                                                  JURY TRIAL DEMANDED
 SEASONS-4, INC.,

      Defendant.


                          COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Collin Lyons (“Plaintiff”), by and through

undersigned counsel, and files this, his Complaint for Damages against Defendant

SEASONS-4, INC., (“Defendant”), and shows the Court as follows:

                            NATURE OF COMPLAINT

                                            1.

        Plaintiff brings this action to recover damages for Defendant’s violation of his

rights under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e

(“Title VII”).
       Case 1:21-cv-02127-SCJ-AJB Document 1 Filed 05/20/21 Page 2 of 9




                          JURISDICTION AND VENUE

                                             2.

      Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. §§ 1331

and 1343.

                                             3.

      Defendant is subject to specific jurisdiction in this Court over the claims

asserted in this action. In addition, a substantial part of the events or omissions giving

rise to Plaintiff’s claims occurred in this District. In accordance with 28 U.S.C. §§

1391(b)(1) and (2), venue is appropriate in this Court.

                                       PARTIES

                                             4.

      Plaintiff is a citizen of the United States of America and is subject to the

jurisdiction of this Court.

                                             5.

      Defendant is qualified and licensed to conduct business in this district, and at

all times material hereto has conducted business within this district.

                                             6.

      Defendant is now and, at all times relevant hereto, has been engaged in an

industry affecting commerce. During all times relevant hereto, Defendant has


                                            2
      Case 1:21-cv-02127-SCJ-AJB Document 1 Filed 05/20/21 Page 3 of 9




employed fifteen (15) or more employees for the requisite duration under Title VII.

Defendant is therefore covered under Title VII in accordance with 42 U.S.C.

§ 2000e(b).

                                         7.

      Defendant may be served with process by delivering a copy of the summons

and complaint to its corporate Registered Agent, Lewis B. Waterford, located at

4500 Industrial Access Road, Douglasville, Georgia 30134.


                     ADMINISTRATIVE PROCEDURES

                                         8.

      Plaintiff filed a timely charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (“EEOC”) on February 17, 2021.

                                         9.

      The EEOC issued the “Notice of Right to Sue” on April 26, 2021.

                                         10.

      This action is being commenced within ninety (90) days of receipt of the

Notice.




                                         3
      Case 1:21-cv-02127-SCJ-AJB Document 1 Filed 05/20/21 Page 4 of 9




                           FACTUAL ALLEGATIONS

                                           11.

      Plaintiff began working for Defendant on or about December 2, 2020, as a

general laborer.

                                           12.

      Plaintiff is male and identifies as gay.

                                           13.

      Ray Rollins, a floor supervisor, knew that Plaintiff identifies as gay.

                                           14.

      Just hours after Plaintiff began work on his first day, Mr. Rollins came up to

Plaintiff and repeatedly called him a “faggot”.

                                           15.

      Mr. Rollins told Plaintiff, “You cannot fucking work here, you faggot,” and

proceeded to terminate Plaintiff’s employment.

                                           16.

      Mr. Rollins then followed Plaintiff as he exited the building and continued to

call him a “faggot.”

                                           17.

      The Plant Supervisor, Ed Laphae, came outside to speak with Plaintiff after


                                          4
      Case 1:21-cv-02127-SCJ-AJB Document 1 Filed 05/20/21 Page 5 of 9




Mr. Rollins had terminated his employment.

                                           18.

      When Plaintiff told Mr. Laphae that Mr. Rollins had discriminated against

him based on his sexual orientation, Mr. Laphae responded that Plaintiff “came with

baggage” and had to have “tough skin.”

                                           19.

      Mr. Laphae maintained the decision to terminate Plaintiff’s employment.

                                           20.

      Defendant terminated Plaintiff because of his gender/sexual orientation.

                                           21.

      Any other reason provided by Defendant for its termination of Plaintiff is

pretext for discrimination. As a result of the discrimination, Plaintiff has suffered

damages, including lost wages and emotional distress.

                             CLAIMS FOR RELIEF

      COUNT I: GENDER DISCRIMINATION IN VIOLATION OF
    TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, AS AMENDED

                                           22.

      Plaintiff re-alleges paragraphs 11-21 as if set forth fully herein.




                                          5
       Case 1:21-cv-02127-SCJ-AJB Document 1 Filed 05/20/21 Page 6 of 9




                                           23.

      Defendant’s actions in subjecting Plaintiff to different terms and conditions

of employment constitutes unlawful discrimination on the basis of his sex and sexual

orientation in violation of Title VII.

                                           24.

      Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s discrimination against Plaintiff was undertaken in bad faith. Plaintiff is

entitled to punitive damages.

                                           25.

      The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunities and has otherwise adversely affected his status

as an employee because of his sex.

                                           26.

      As a direct and proximate result of Defendant’s violation of Title VII, Plaintiff

has been made the victim of acts that have adversely affected his psychological and

physical well-being.




                                           27.


                                          6
      Case 1:21-cv-02127-SCJ-AJB Document 1 Filed 05/20/21 Page 7 of 9




      Accordingly, Defendant is liable for the damages Plaintiff has sustained as a

result of Defendant’s unlawful discrimination.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court:

      (a)          General damages for mental and emotional suffering caused by

                   Defendant’s misconduct;

      (b)          Punitive damages based on Defendant’s willful, malicious,

                   intentional,   and    deliberate   acts,   including    ratification,

                   condonation and approval of said acts;

      (c)          Special damages for lost wages and benefits and prejudgment

                   interest thereon;

      (d)          Reasonable attorney's fees and expenses of litigation;

      (e)          Trial by jury as to all issues;

      (f)          Prejudgment interest at the rate allowed by law;

      (g)          Declaratory relief to the effect that Defendant has violated

                   Plaintiff’s statutory rights;

      (h)          Injunctive relief of reinstatement, or front pay in lieu thereof, and

                   prohibiting Defendant from further unlawful conduct of the type

                   described herein; and


                                           7
Case 1:21-cv-02127-SCJ-AJB Document 1 Filed 05/20/21 Page 8 of 9




(i)        All other relief to which he may be entitled.




                                 8
     Case 1:21-cv-02127-SCJ-AJB Document 1 Filed 05/20/21 Page 9 of 9




     Respectfully submitted the 20th day of May, 2021.

                                   BARRETT & FARAHANY

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                                      9
